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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                    CRIMINAL MOTION HEARING

                                                                   COURT MINUTES
                                                                  BEFORE: Tony N. Leung
                                                                   U.S. Magistrate Judge

                                                    Case No:        22-mj-742 (TNL)
    In re: Search Warrant                           Date:           October 18, 2022
                                                    Court Reporter: Paula Richter
                                                    Courthouse:     Minneapolis
                                                    Courtroom:      9W
                                                    Time Commenced:        2:11 p.m.
                                                    Time Concluded:        3:01 p.m.
                                                    Sealed Hearing Time: N/A
                                                    Time in Court: 50 minutes


APPEARANCES:
Movants (Minnesota Reformer and Tony Webster): Christopher Proczko.

Plaintiff (United States of America): Jonathan Edward Jacobson, Aaron Teitelbaum, Craig R. Baune, and Ana
H. Voss.

HEARING ON:
A hearing was held regarding the Movants’ Motion to Intervene and Unseal Search Warrant Materials, ECF No.
5.

REMARKS:

The Movants’ Motion to Intervene and Unseal Search Warrant Materials, ECF No. 5, was taken under
advisement as of today.

☒ORDER TO BE ISSUED ☐NO ORDER TO BE ISSUED               ☐R&R TO BE ISSUED ☐ NO R&R TO BE ISSUED


                                                                       s/Kelly
                                                                 Law Clerk to Magistrate Judge Leung
